         Case 2:22-cv-00122-SCJ Document 7 Filed 07/29/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION


 MICHAEL ESTRADA,
              Plaintiff,
       v.                                       CIVIL ACTION FILE
                                                NO. 2:22-CV-0122-SCJ
 CRACKER BARREL OLD COUNTRY
 STORE, INC.,
              Defendant.

                                      ORDER

      Counsel for Plaintiff having filed Notice [Doc. 6] informing the Court that the

parties to this matter have reached a settlement in principal, but it appearing that

documentation of the settlement has not yet been concluded, it is therefore

ORDERED that this action be DISMISSED without prejudice to the right, upon

good cause shown within sixty (60) days to reopen the action if settlement is not

consummated. The Clerk is DIRECTED to ADMINISTRATIVELY TERMINATE

this action. If this matter is not reopened by the parties within sixty (60) days it will

be deemed to have been dismissed with prejudice.

      IT IS SO ORDERED, this 29th day of July, 2022.

                                         s/Steve C. Jones
                                         STEVE C. JONES
                                         UNITED STATES DISTRICT JUDGE
Case 2:22-cv-00122-SCJ Document 7 Filed 07/29/22 Page 2 of 2
